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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 21-61176-CIV-SINGHAL/Valle


  SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

  v.

  PROPERTY INCOME INVESTORS, LLC, et al.,

       Defendants.
  _________________________________________/

                                            ORDER

          THIS CAUSE is before the Court on Miranda L. Soto, as Receiver’s (the

   “Receiver”) Third Interim Omnibus Application for Allowance and Payment of

   Professionals’ Fees and Reimbursement of Expenses for October 1, 2021 through

   December 31, 2021 (the “Application”) (DE [66]). The Application is unopposed.

   The Court having considered the Application, reviewed the file, and finding that cause

   exists to grant the Application, it is hereby

        ORDERED AND ADJUDGED as follows:

        1. The Receiver’s Third Interim Omnibus Application for Allowance and

            Payment of Professionals’ Fees and Reimbursement of Expenses for

            October 1, 2021 through December 31, 2021 (DE [66]) is GRANTED.



        2. The Court awards the following sums and directs that payment be made from

            Receivership assets:

                a. Miranda L. Soto, Esq. as Receiver:   $25,589.57;
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              b. Buchanan Ingersoll & Rooney PC:     $80,180.50; and

              c. Kaufman & Company, P.A.:      $13,601.25.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 28th day of

  February 2022.




  Copies furnished to counsel of record via CM/ECF




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